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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

 JOSEPH A. DENBOW and SEAN R.
 RAGSDALE, on their own and on behalf of a
 class of similarly situated persons,
                                                     Case No. 20-cv-00175-JAW
                        Petitioners,

          v.                                         JOINT NOTICE REGARDING
                                                     PETITIONER RAGSDALE

 MAINE DEPARTMENT OF
 CORRECTIONS and RANDALL A.
 LIBERTY, Commissioner of Maine
 Department of Corrections in his official
 capacity,
                         Respondents



         Petitioners, Joseph Denbow and Sean Ragsdale, and Respondents, Maine Department of

Corrections and Commissioner Randall Liberty, hereby provide the Court with notice that Mr.

Ragsdale was released at the expiration of his term of incarceration on Friday, July 17, 2020. Mr.

Ragsdale is now subject to probation for three years, as part of his sentence. This information is

publicly available at the MDOC prisoner/probationer search page, available at

https://www1.maine.gov/cgi-bin/online/mdoc/search-and-deposit/results.pl (last visited July 21,

2020).




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Dated: July 21, 2020                     Respectfully Submitted,

                                         /s/ Emma E. Bond
                                         Emma E. Bond, Esq.
                                         Zachary L. Heiden, Eq.
                                         American Civil Liberties Union of Maine
                                         Foundation
                                         P.O. Box 7860
                                         Portland, Maine 04112
                                         (207) 619-8687
                                         ebond@aclumaine.org
                                         (207) 619-6224
                                         heiden@aclumaine.org

                                         Moe Keshavarzi*
                                         Robert Sturgeon*
                                         Alex Kuljis*
                                         Sheppard Mullin Richter & Hampton LLP
                                         333 South Hope Street, 43rd Floor
                                         Los Angeles, CA 90071-1422
                                         213.617.5544
                                         MKeshavarzi@sheppardmullin.com
                                         213-617-5435
                                         RSturgeon@sheppardmullin.com
                                         213-617-4239
                                         AKuljis@sheppardmullin.com

                                         Jodi Nofsinger
                                         Miriam Johnson
                                         Taylor Asen
                                         Berman and Simmons
                                         129 Lisbon Street
                                         Lewiston, Maine 04240
                                         jnofsinger@bermansimmons.com
                                         (207) 784-7699
                                         mjohnson@bermansimmons.com
                                         (207) 784-3576
                                         tasen@bermansimmons.com

                                         Attorneys for Petitioners and Proposed
                                         Class

                                         * admitted pro hac vice




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                                         AARON M. FREY
                                         Attorney General


July 21, 2020                            /s/ Jillian R. O’Brien
                                         Jillian R. O’Brien, Bar No. 6225
                                         Assistant Attorney General
                                         jill.obrien@maine.gov
                                         Alisa Ross, Bar No. 4688
                                         Assistant Attorney General
                                         alisa.ross@maine.gov
                                         Jonathan R. Bolton, Bar No. 4597
                                         jonathan.bolton@maine.gov
                                         Office of the Attorney General
                                         6 State House Station
                                         Augusta, ME 04333-0006
                                         Tel. (207) 626-8800

                                         Attorneys for Respondents




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 21, 2020, I electronically filed the above document with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to all registered counsel

of record.



July 21, 2020                                           /s/ Jillian R. O’Brien
                                                        Jillian R. O’Brien, Bar No. 6225
                                                        Assistant Attorney General
                                                        jill.obrien@maine.gov




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